Case 18-59331-jwc       Doc 46 Filed 03/09/23 Entered 03/09/23 12:28:56               Desc Main
                        UNITED Document
                               STATES BANKRUPTCY
                                            Page 1 of 5 COURT
                         NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


 IN RE:                                             )   CHAPTER 13
 ELEASE WILLIAMS                                    )   CASE NUMBER A18-59331-JWC
                                                    )
    DEBTOR                                          )



                                    MOTION TO DISMISS
    COMES NOW Nancy J. Whaley, Standing Chapter 13 Trustee, in the above styled case,
 and respectfully shows the Court as follows:

                                              1.

    Debtor filed a petition for relief under Chapter 13 of Title 11.

                                               2.

    Debtor's plan will exceed sixty (60) months by two (2) months in violation of 11 U.S.C.
 Sections 1322(d)(2)(c) and 1307(c).

                                               3.

     Debtor has failed to tender all plan payments due in accordance with the confirmed plan. As
 of 3/7/2023 the Trustee received a total of $35,458.00. The Trustee's records indicate the
 amount delinquent is $3,562.00. A receipt history is attached and marked exhibit A.

    Wherefore, the Trustee prays that this case be dismissed or in alternative that the Debtor
 proposes a modification to meet the requirements of the confirmed plan that ensures that the
 plan is completed within the allowable time.

 This the 9th day of March, 2023.


 /s/________________________________________
   Lisa B. Burnette
   Attorney for the Chapter 13 Trustee
   State Bar No. 096192
   303 Peachtree Center Avenue, NE - Suite 120
   Atlanta, GA 30303
   678-992-1201
   lburnette@njwtrustee.com
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                                  EXHIBIT "A"



 CASE NO: A18-59331-JWC                                          03/07/2023
 ELEASE WILLIAMS

                 RECEIPT HISTORY OVER THE LAST 12 MONTHS

 DATE                   TYPE               SOURCE              AMOUNT

 February 03, 2023     EPAYPR          8977468000Plan               $755.00
 December 02, 2022     EPAYPR          8852664000Plan               $755.00
 October 03, 2022      EPAYPR          8744235000Plan               $755.00
 September 02, 2022    EPAYPR          8686520000Plan               $755.00
 June 23, 2022         EPAYPR          8544972000Plan               $755.00
 May 26, 2022          EPAYPR          8488623000Plan               $755.00
 April 28, 2022        EPAYPR          8428951000Plan               $755.00
 March 24, 2022        EPAYPR          8358700000Plan               $755.00

                                       Receipt Total:            $6,040.00
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                          :     CASE NO. 18-59331
                                                 :
 ELEASE WILLIAMS                                 :     CHAPTER 13
                                                 :
                            Debtor(s).           :     JUDGE JWC
                                                 :
                                                 :
                                                 :
 NANCY WHALEY, TRUSTEE                           :
                                                 :
                            Movant(s),           :
 v.                                              :     CONTESTED MATTER
                                                 :
 ELEASE WILLIAMS                                 :
                                                 :
                        Respondant(s),           :




                                     NOTICE OF HEARING

      PLEASE TAKE NOTICE that Nancy J. Whaley, Standing Chapter 13 Trustee, has filed a
 Motion to Dismiss with the Court seeking an order of dismissal.


      PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic
 hearing for announcements on the Motion to Dismiss at the following number: toll-free
 number: 833-568-8864; meeting id: 160 459 5648; at 10:10 AM on April 18, 2023 in
 Courtroom 1203, United States Courthouse, 75 Ted Turner Drive, SW Atlanta, GA 30303.


      Matters that need to be heard further by the Court may be heard by telephone, by video
 conference, or in person, either on the date set forth above or on some other day, all as
 determined by the Court in connection with this initial telephonic hearing. Please review the
 “Hearing Information” tab on the judge’s webpage, which can be found under the “Dial-in and
 Virtual Bankruptcy Hearing Information” link at the top of the webpage for this Court,
 www.ganb.uscourts.gov for more information.
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    Your rights may be affected by the court’s ruling on these pleadings. You should read these
 pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
 case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court
 to grant the relief sought in these pleadings or if you want the court to consider your views, then
 you and/or your attorney must attend the hearing. You may also file a written response to the
 pleading with the Clerk at the address stated below, but you are not required to do so. If you file
 a written response, you must attach a certificate stating when, how and on whom (including
 addresses) you served the response. Mail or deliver your response so that it is received by the
 Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk,
 U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta, GA 30303. You must also
 mail a copy of your response to the undersigned at the address stated below.



This the 9th day of March, 2023.


/s/________________________________________
  Lisa B. Burnette
  Attorney for the Chapter 13 Trustee
  State Bar No. 096192
  303 Peachtree Center Avenue, NE - Suite 120
  Atlanta, GA 30303
  678-992-1201
  lburnette@njwtrustee.com
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                                 CERTIFICATE OF SERVICE
 Case No: A18-59331-JWC

 I certify that on this day I caused a copy of this Chapter 13 Trustee's Motion to Dismiss to be
 served via United States First Class Mail with adequate postage prepaid on the following parties
 at the address shown for each:



ELEASE WILLIAMS
3345 VALLEY BEND RD
ATLANTA, GA 30349




I further certify that I have on this day electronically filed the foregoing Chapter 13 Trustee's
Motion to Dismiss using the Bankruptcy Court’s Electronic Case Filing program, which sends
a notice of this document and an accompanying link to this document to the following parties
who have appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

Attorney for the Debtor(s):

SLIPAKOFF & SLOMKA, PC




 This the 9th day of March, 2023.


 /s/____________________________________
   Lisa B. Burnette
   Attorney for the Chapter 13 Trustee
   State Bar No. 096192
   303 Peachtree Center Avenue, NE - Suite 120
   Atlanta, GA 30303
   678-992-1201
   lburnette@njwtrustee.com
